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                         Nos. 22-13992 & 22-13994

           In the United States Court of
           Appeals for the Eleventh Circuit
                         LEROY PERNELL, ET AL.,
                                     Plaintiffs–Appellees,
                                       v.

                           BRIAN LAMB, ET AL.,
                                      Defendants–Appellants.

                        ADRIANA NOVOA, ET AL.,
                                    Plaintiffs–Appellees,
                                       v.

                         MANNY DIAZ, JR., ET AL.,
                                      Defendants–Appellants.

              BRIEF OF DEFENDANTS-APPELLANTS

                          ON APPEAL FROM THE
                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
               NOS. 4:22-CV-304-MW-MAF & 4:22-CV-324-MW-MAF

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               CERTIFICATE OF INTERESTED PERSONS AND
                 CORPORATE DISCLOSURE STATEMENT
         Defendants-Appellants certify that the following is a complete list of

interested persons as required by Federal Rule of Appellate Procedure 26.1 and

Eleventh Circuit Rule 26.1:

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   2.      American Civil Liberties Union Foundation of Florida, Inc., Attorneys for

           Plaintiffs-Appellees

   3.      American Civil Liberties Union of New York, Attorneys for Plaintiffs-

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   4.      Austin, Sharon Wright, Plaintiff-Appellee

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   9.      Boaz, Timothy L., Defendant-Appellant

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   11.     Callahan, Sandra, Defendant-Appellant

   12.     Carrere, Michael, Defendant-Appellant


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 13.   Cerio, Timothy M., Defendant-Appellant

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 18.   Dauphin, Johana, Plaintiff-Appellee

 19.   Diaz, Jr., Manny, Defendant-Appellant

 20.   Donelly, N. Rogan, Defendant-Appellant

 21.   Dorsey, Dana Thompson, Plaintiff-Appellee

 22.   Dunn, Marvin, Plaintiff-Appellee

 23.   Edge, Aubrey, Defendant-Appellant

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 25.   Edwards, Jerry Crawford, Attorney for Plaintiffs-Appellees

 26.   Fajana, Morenike, Attorney for Plaintiffs-Appellees

 27.   First Amendment Forum at University of South Florida, Plaintiff-

       Appellee

 28.   Fitzpatrick, Magistrate Judge Martin A., U.S. District Court for the

       Northern District of Florida

 29.   Florida A&M University Board of Trustees, Defendant (Dismissed on

       Nov. 22, 2022)


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 30.   Florida Board of Governors of the State University System, Defendant

       (Dismissed on Nov. 22, 2022)

 31.   Florida International University Board of Trustees, Defendant (Dismissed

       on Nov. 22, 2022)

 32.   Florida State University Board of Trustees, Defendant (Dismissed on

       Nov. 22, 2022)

 33.   Foundation for Individual Rights and Expression, Attorneys for

       Plaintiffs-Appellees

 34.   Frost, Patricia, Defendant-Appellant

 35.   Gabadage, Nimna, Defendant-Appellant

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 39.   Haddock, Jr., Edward Ellis, Defendant-Appellant

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 41.   Horton, Oscar, Defendant-Appellant

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 44.   Jordan, Darlene Luccio, Defendant-Appellant


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 50.   Lubin, Catharine E., Attorney for Plaintiffs-Appellees

 51.   Lydecker, Charles, Defendant-Appellant

 52.   Mabatah, Isiuwa Jacqueline, Attorney for Plaintiffs-Appellees

 53.   Mateer, Craig, Defendant-Appellant

 54.   McLaurin, Charles, Attorney for Plaintiffs-Appellees

 55.   McNamara, Caroline Andrews, Attorney for Plaintiffs-Appellees

 56.   Michael, Deanna, Defendant-Appellant

 57.   Monbarren, Lauran, Defendant-Appellant

 58.   Moraff, Laura Beth, Attorney for Plaintiffs-Appellees

 59.   Morris, Joshua (“J.T.”), Attorney for Plaintiffs-Appellees

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       Plaintiffs-Appellees

 61.   Nascimento, Isabella Salomao, Attorney for Plaintiffs-Appellees

 62.   Novoa, Adriana, Plaintiff-Appellee

 63.   Ohlendorf, John David, Attorney for Defendants-Appellants


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 64.   Palyam, Nithin, Defendant-Appellant

 65.   Park, Shelley, Plaintiff-Appellee

 66.   Patel, Shilen, Defendant-Appellant

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 73.   Scott, Steven, Defendant-Appellant

 74.   Seixas, Melissa, Defendant-Appellant

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 76.   Silagy, Eric, Defendant-Appellant

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 78.   Stermon, Kent, Defendant-Appellant

 79.   Sykes, Emerson James, Attorney for Plaintiffs-Appellees

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 81.   Tobin, Charles David, Attorney for Plaintiffs-Appellees

 82.   University of Central Florida Board of Trustees, Defendant (Dismissed

       on Nov. 22, 2022)


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   83.     University of Florida Board of Trustees, Defendant (Dismissed on Nov.

           22, 2022)

   84.     University of South Florida Board of Trustees, Defendant (Dismissed on

           Nov. 22, 2022)

   85.     Walker, Judge Mark E., U.S. District Court for the Northern District of

           Florida

   86.     Watson, Leah Monique, Attorney for Plaintiffs-Appellees

   87.     Weatherford, William, Defendant-Appellant

   88.     Wold, Megan M., Attorney for Defendants-Appellants

         Apart from undisclosed members of Appellees, no publicly traded company

or corporation has an interest in the outcome of this case or appeal.

Dated: April 17, 2023                         Respectfully submitted,

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              STATEMENT REGARDING ORAL ARGUMENT

      This appeal concerns important constitutional questions under the First

Amendment and Due Process Clause involving the State’s ability to regulate the

classroom instruction provided by public employees at public universities and the

nature and importance of the State’s interest in preventing racial discrimination in

public universities. Appellants believe oral argument would assist the Court in

deciding these consequential issues.




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                                 INTRODUCTION

      “Members of one race … are morally superior to members of another race.”

      The People of Florida believe that this proposition is invidiously

discriminatory and that it should not be advocated by teachers in Florida’s public

classrooms. Accordingly, the Florida Legislature prohibited public school teachers

and university educators from subjecting students to “instruction” that espouses or

otherwise endorses this proposition, along with seven other “concepts” of similar

ilk, such as “[m]embers of one race … cannot and should not attempt to treat others

without respect to race,” and “[a] person, by virtue of his or her race … is inherently

racist ….” FLA. STAT. § 1000.05(4)(a).

      Enacted in April 2022, the statute at issue in this case, the Individual Freedom

Act (“Act” and “IFA”), expresses the State’s view that classroom indoctrination of

students in the eight prohibited concepts violates the fundamental moral principle at

the heart of the Equal Protection Clause—that “the Government must treat citizens

as individuals, not as simply components of a racial, religious, sexual or national

class,” Miller v. Johnson, 515 U.S. 900, 946 (1995), and that discriminating against

people solely because of such immutable characteristics is “odious to a free people

whose institutions are founded upon the doctrine of equality,” Loving v. Virginia,

388 U.S 1, 11 (1955). The Act, it should be noted, does not banish the enumerated

concepts from the classroom altogether; to the contrary, it expressly permits


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classroom instruction that includes “discussion” of the listed concepts so long as the

“instruction is given in an objective manner without endorsement of the concepts.”

FLA. STAT. § 1004.05(4)(b). And the Act applies only to “instruction,” see id.

§ 1000.05(4)(a), and thus does not prevent the State’s educators from advocating the

concepts, or any other personal views they may hold, in publications, speeches, or

other activities outside the classroom or other instructional settings. Nor does the

Act, contrary to Plaintiffs’ and the district court’s claims, reach speeches or debates

by guest speakers or other invitees who, unlike the State’s own instructors in the

classroom, do not speak on behalf of the State. See Regulation 10.005 (defining

“instruction” to mean teaching “by a university employee” or other person

“authorized to provide instruction by the university within a course”). All the Act

does is prohibit the State’s educators from endorsing the enumerated concepts while

teaching the State’s curriculum, in the State’s classrooms, on the State’s time, in

return for a State paycheck.

      The Plaintiffs in these cases—eight college professors, two students, and a

student organization—are not content with classroom discussion of the concepts,

objectively without endorsement. The Plaintiff Professors believe and embrace the

discriminatory concepts and contend that they have a First Amendment right to

inculcate their students with these concepts in their courses. The Plaintiff Students




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argue that they have a correlative First Amendment right to receive the professors’

personal opinions and views endorsing the discriminatory concepts.

      The constitutional question in this case thus boils down to this: who decides

what is, and is not, to be taught in Florida’s college classrooms—individual

professors or their employer, the State, in prescribing by law the content

requirements and standards that govern public universities in setting their course

curricula? That question is not a hard one, for it was squarely resolved in favor of

the State by this Court in Bishop v. Aronov, 926 F.2d 1066 (11th Cir. 1991), which

held that the University of Alabama did not violate a physiology professor’s free

speech rights by “prevent[ing] him from presenting his religious viewpoint during

instructional time, even to the extent that it represents his professional opinion about

his subject matter.” Id. at 1077. The Court was not equivocal in stating the governing

rule: “In short, Dr. Bishop and the University disagree about a matter of content in

the courses he teaches. The University must have the final say in such a dispute.” Id.

at 1076.

      The district court below, however, read Bishop to mean precisely the opposite

of what it plainly says. After denouncing the Individual Freedom Act as Orwellian

“doublespeak,” and the State’s defense of it as “positively dystopian” and a

“Frankenstein’s monster,” the district court based its First Amendment analysis on

what it saw as the sharp distinction between “the State’s right to make content-based

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choices in setting the public school curriculum” and the State’s “discretion in

limiting a professor’s ability to express certain viewpoints about the content of the

curriculum once it is set.” App.318 (emphasis in original). A State’s authority “to

determine the content of its public school curriculum,” according to the district court,

means that “[a] professor cannot decide to teach something entirely different or do

an end-run around the prescribed curriculum by paying lip service to the subject they

are supposed to teach and then spend the rest of class time instructing on something

else.” App.317-18. But a professor is constitutionally entitled, the court below held,

to inculcate students in his or her personal viewpoints on matters that are within the

scope of the assigned course: “The State of Florida, as an employer and educator,

cannot restrict university employees from expressing a disfavored viewpoint about

a matter within the established curriculum while instructing on that curriculum. Such

viewpoint discrimination ‘is poison to a free society.’” App.398 (quoting Iancu v.

Brunetti, 139 S. Ct. 2294, 2302 (2019)) (Alito, J., concurring)). What that means is

that once the State chooses to place a subject in the curriculum, it cannot say how

that subject is taught. A history professor teaching a course on World War II, for

example, would be free to espouse the view that the Holocaust was a hoax and to

lament the fact that the Nazis were defeated. Other hypotheticals can be imagined.

Thus, under the district court’s rule, the professors have the final say over what they




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teach under a university’s banner, and so the court preliminarily enjoined

enforcement of the Act.

      The district court’s First Amendment analysis is fatally flawed at multiple

levels.

      First, and dispositively, the district court’s ruling is squarely at odds with

Bishop. The district court sought to distinguish Bishop on the ground that the

university had determined that Dr. Bishop’s classroom discussion of his personal

religious viewpoints “was not part of its curriculum with respect to the exercise

physiology course he taught.” App.383. True enough. But the university’s

determination that Dr. Bishop’s personal religious beliefs were outside the course

curriculum was based on the fact that they were his personal religious beliefs; it did

not matter that those “religious viewpoints . . . represent[ed] his professional opinion

about his subject matter.” 926 F.2d at 1077. The university did not seek to prohibit

all classroom discussion of matters touching generally on religion, such as the

extensively studied relationship between religion and both mental and physical

health. See, e.g., H.G. Koenig, Religion, Spirituality, and Health: The Research and

Clinical Implications, ISRN PSYCHIATRY, 2012, https://bit.ly/3F7WqyK. Rather, as

this Court emphasized, “[t]he University has simply said that he may not discuss his

religious beliefs or opinions under the guise of University courses.” 926 F.2d at 1076

(emphasis added). And that viewpoint-based restriction on his speech was “within

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[the University's] powers to control the content of curriculum in the classroom.” Id.

at 1078. The Plaintiff Professors in this case stand on no different First Amendment

footing. In their dispute with the State about the content of their courses, including

their advocacy of viewpoints contrary to the Individual Freedom Act, the State must

have the final say.

      Second, quite apart from its conflict with this Court’s binding decision in

Bishop, the decision below cannot be squared with the Supreme Court’s

“government speech” cases establishing that the speech of public employees, when

made “pursuant to their official duties,” is not protected by the First Amendment at

all. Garcetti v. Ceballos, 547 U.S. 410, 421 (2006). The leading government speech

case in the area of public education is Rosenberger v. Rector & Visitors of University

of Virginia, 515 U.S. 819 (1995), where the Supreme Court made clear that “when

the university determines the content of the education it provides, it is the university

speaking, and we have permitted the government to regulate the content of what is

or is not expressed when it is the speaker.” Id. at 833. This language was read by

then-Judge Alito to mean that “a public university professor does not have a First

Amendment right to decide what will be taught in the classroom.” Edwards v. Calif.

Univ. of Penn., 156 F.3d 488, 491 (3d Cir. 1998).

      Of like import are the government speech cases in which the government

provides public funds to private entities or permits them to use public property to

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communicate the government’s own message. These cases make clear that the

government is not restricted by the First Amendment in expressing its own

viewpoints. See, e.g., Rust v. Sullivan, 500 U.S. 173 (1991); Walker v. Texas Div.,

Sons of Confederate Veterans, Inc., 576 U.S. 200 (2015).

      Thus, the Court’s government speech cases compel reversal of the decision

below even before one gets to the seminal Garcetti decision. And while the Garcetti

Court reserved the question whether its holding governs with full force in the context

of classroom instruction—a question not before it—the reasoning of the decision is

squarely applicable. Indeed, given that an educator’s essential “official dut[y]” is

classroom speech, applying Garcetti to a teacher’s instruction is “an easier case for

the employer than Garcetti” itself, “where speech was not what the employee was

being paid to create.” Mayer v. Monroe Cnty. Cmty. Sch. Corp., 474 F.3d 477, 479

(7th Cir. 2007) (Easterbrook, J.).

      Third, the implications of the district court’s decision are startling, for it

anoints individual professors as universities unto themselves, at liberty under the

First Amendment to indoctrinate college students in whatever views they please, no

matter how contrary to the university’s curriculum or how noxious to the People of

Florida.

      In short, the district court’s First Amendment ruling was wrong, and this Court

should reverse it.

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      The district court’s Plan B ruling was to declare the Act void, in its entirety,

for vagueness, on the theory that it is “impossible” to expect “ordinary persons using

ordinary common sense” (the test for vagueness in the public employment context),

App.404-05, to understand the meaning of the “loaded and contested” and “utterly

ambiguous” term “objective,” App.410, 415, in the Act’s provision permitting

classroom discussion of the prohibited concepts “in an objective manner without

endorsement,” FLA. STAT. 1000.05(4)(b) (emphasis added). The common, everyday

distinction between objectively considering and discussing an idea and advocating

or endorsing the idea is not at all confounding to ordinary persons, let alone to

university instructors. Indeed, our adversarial legal system is founded on the

distinction: it is the difference between what lawyers do and what judges do. Indeed,

the term “objective” is ubiquitous in our written law, statutory and judicial, and the

district court itself has used the term in numerous opinions without offering a

definition of its supposedly “utterly ambiguous” meaning. There’s nothing vague

about the language of the Individual Freedom Act, and this Court should reverse the

district court’s contrary decision.

      Finally, although the district court correctly held that plaintiffs seeking a

preliminary injunction have the burden of producing evidence of specific facts

sufficient to establish their standing for each of the Act’s concepts that they

challenge, it erred in concluding that Plaintiffs had done so with respect to at least

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four of the eight prohibited concepts. No Plaintiff Professor in either case even

adequately alleged, let alone produced supporting evidence, that they intended to

subject students to instruction that would violate the Act’s prohibition on advocating

concepts 1, 3, 5, and 6. To remedy this jurisdictional deficiency, the district court

took it upon itself to parse through the Plaintiff Professors’ course materials beyond

what they had alleged in their complaints and stated in their declarations and

briefing, in search of ways in which their teaching could “arguably violate” the

concepts that Plaintiffs had not even mentioned. The district court’s supplementation

of Plaintiffs’ submissions exceeded the proper bounds of the judicial role, and this

Court should reverse the court’s finding that the “Plaintiffs have standing to

challenge all eight concepts.” App.421.

      The remaining equitable factors also decisively favor reversal of the

preliminary injunction, especially given the clarity of the district court’s errors on

the merits. The State has a compelling—indeed, constitutionally imperative—

interest in combating invidious discrimination, and enjoining a state from enforcing

its laws is by definition a form of irreparable injury. See Maryland v. King, 567 U.S.

1301, 1303 (2012) (Roberts, C. J., in chambers).

      The Court should reverse the district court’s order granting a preliminary

injunction.




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                       JURISDICTIONAL STATEMENT

      The District Court had subject matter jurisdiction over this constitutional

challenge under 28 U.S.C. § 1331. The District Court entered the preliminary

injunction that is the subject of this appeal on November 17, 2022. Defendants filed

a timely notice of appeal on November 29, 2022. This Court has jurisdiction over

the interlocutory order granting a preliminary injunction under 28 U.S.C.

§ 1292(a)(1).

                             ISSUES PRESENTED

      (1)    Whether Plaintiffs have Article III standing to bring a pre-enforcement

challenge to each provision of Florida’s Individual Freedom Act that regulates

public universities;

      (2)    Whether the Act’s regulation of in-class instruction by public

employees triggers First Amendment scrutiny;

      (3)    Whether the Act is sufficiently tailored to advance the State’s

compelling interest in preventing invidious discrimination by public employees at

public universities;

      (4)    Whether the challenged provisions of the Act are unconstitutionally

vague;

      (5)    Whether any unconstitutional provisions are severable from the

remainder of the Act; and


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      (6)    Whether equitable factors favor reversal of the district court’s

preliminary injunction.

                           STATEMENT OF THE CASE

      I.     Factual Background.

      Last spring, pursuant to its authority to “establish education policy, enact

education laws, and appropriate and allocate education resources,” FLA. STAT.

§ 1000.03(2)(a), the Florida Legislature passed the Individual Freedom Act. See

2022 Fla. Laws 72. Governor DeSantis approved the Act on April 22, and it took

effect on July 1. See id. § 8.

      As relevant here, the Act amended the Education Code to enumerate actions

that constitute “discrimination on the basis of race, color, national origin, [or] sex”

and are thus prohibited under Section 1000.05(2). Id. § 2. Specifically, the Act

prohibits “subject[ing] any student or employee to training or instruction that

espouses, promotes, advances, inculcates, or compels such student or employee to

believe any of the following concepts:”

      1.     Members of one race, color, national origin, or sex are morally
             superior to members of another race, color, national origin, or
             sex.

      2.     A person, by virtue of his or her race, color, national origin, or
             sex, is inherently racist, sexist, or oppressive, whether
             consciously or unconsciously.

      3.     A person’s moral character or status as either privileged or
             oppressed is necessarily determined by his or her race, color,
             national origin, or sex.
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      4.     Members of one race, color, national origin, or sex cannot and
             should not attempt to treat others without respect to race, color,
             national origin, or sex.

      5.     A person, by virtue of his or her race, color, national origin, or
             sex, bears responsibility for, or should be discriminated against
             or receive adverse treatment because of, actions committed in the
             past by other members of the same race, color, national origin,
             or sex.

      6.     A person, by virtue of his or her race, color, national origin, or
             sex, should be discriminated against or receive adverse treatment
             to achieve diversity, equity, or inclusion.

      7.     A person, by virtue of his or her race, color, sex, or national
             origin, bears personal responsibility for and must feel guilt,
             anguish, or other forms of psychological distress because of
             actions, in which the person played no part, committed in the past
             by other members of the same race, color, national origin, or sex.

      8.     Such virtues as merit, excellence, hard work, fairness, neutrality,
             objectivity, and racial colorblindness are racist or sexist, or were
             created by members of a particular race, color, national origin, or
             sex to oppress members of another race, color, national origin, or
             sex.

FLA. STAT. § 1000.05(4)(a)(1)-(8).

      The Act, however, draws a sharp distinction between indoctrination and

discussion: it prohibits all persons from subjecting a student to instruction that

advocates these concepts, but at the same time makes clear that it does not “prohibit

discussion of the concepts … as part of a larger course of training or instruction,

provided such training or instruction is given in an objective manner without

endorsement of the concepts.” FLA. STAT. § 1000.05(4)(b).



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      The Florida Board of Governors is vested with the constitutional authority to

“adopt regulations to implement [§ 1000.05] as it relates to state universities.” FLA.

STAT. § 1000.05(6)(b); FLA. CONST. art. 9, § 7. Pursuant to that authority, the Board

adopted Regulation 10.005 to implement the Act. See 10.005, Prohibition of

Discrimination in University Training or Instruction, BD. OF GOVERNORS, STATE

UNIV. SYS.    OF   FLA. (Aug. 26, 2022), available at https://bit.ly/3xqDCX8

(“Regulation 10.005”). Under the Regulation, universities are required to adopt their

own regulations implementing the Act, and the Board takes enforcement action only

against a university that “willfully and knowingly failed to correct a violation of the

university regulation.” Regulation 10.005(4)(a).

      II.    Prior Proceedings.

      This appeal arises from two separate challenges to the Act—Pernell v. Florida

Board of Governors and Novoa v. Diaz. 1 In Pernell, the Plaintiffs are six current

professors at Florida universities, one professor emeritus who has hosted a

university-sponsored bus tour, and one university student. In Novoa, the Plaintiffs

are one professor at the University of South Florida (“USF”), one USF student, and

one USF student group.


      1
        These two cases were not formally consolidated below, but they were briefed
in tandem, argued together, and resulted in the district court’s issuance of a single
preliminary injunction. On February 23, this Court formally consolidated the appeals
of these two cases. See Order, Pernell v. Comm’r of the Fla. State Bd. of Educ., No.
22-13992, Doc. 40 (11th Cir. Feb. 23, 2023).
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       Both sets of Plaintiffs challenged the Act on the grounds, inter alia, that it

violates their free speech rights under the First Amendment and their rights under

the Fourteenth Amendment Due Process Clause’s vagueness doctrine. They each

sought preliminary injunctive relief. Defendants opposed the motions and also

moved to dismiss all claims under Rule 12(b)(1) and (6) for lack of standing and

failure to state a claim.

       On November 17, the district court granted Plaintiffs’ request for a

preliminary injunction in principal part. The court concluded that all Plaintiffs except

two of the Pernell Plaintiffs had standing. App.421-22. Moreover, while the court

determined that the standing analysis must be conducted on a provision-by-provision

basis, it held that at least one Plaintiff had adequately alleged an injury traceable to

each of the Act’s eight enumerated concepts, such that the entire Act was properly

before it. See id. On the merits, the court concluded that the Act restricts Plaintiffs’

free speech rights and, applying a balancing test the court drew from this Court’s

decision in Bishop, it held that the Act violates the First Amendment. Finally, it also

concluded that two of the Act’s provisions are unconstitutionally vague, including

the Act’s exception allowing “objective” classroom discussion of the eight

enumerated concepts—which, the court determined, “commands the entire statute”

and thus “renders the [Act] as a whole unconstitutionally vague.” App.416 & n.62.




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      The court thus entered a preliminary injunction barring any further

enforcement of the Act or of the Board’s regulation implementing it. And in a closing

section, the court refused to stay its injunction pending any appeal to this Court.

Appellants sought a stay from this Court, which also denied the request. Order,

Pernell v. Comm’r of the Fla. State Bd. of Educ., No. 22-13992, Doc. 43 (11th Cir.

Mar. 16, 2023).

                            STANDARD OF REVIEW

      “In this Circuit, a preliminary injunction is an extraordinary and drastic

remedy not to be granted unless the movant clearly established the burden of

persuasion as to each of the four prerequisites.” Siegel v. LePore, 234 F.3d 1163,

1176 (11th Cir. 2000) (cleaned up). Those prerequisites are that “(1) [the movant]

has a substantial likelihood of success on the merits; (2) it will suffer an irreparable

injury unless the injunction is granted; (3) the harm from the threatened injury

outweighs the harm the injunction would cause the opposing party; and (4) the

injunction would not be adverse to the public interest.” Gonzalez v. Governor of Ga.,

978 F.3d 1266, 1270-71 (11th Cir. 2020). This Court “review[s] the grant of a

preliminary injunction for abuse of discretion,” and “any underlying legal

conclusions de novo.” Id. at 1270. “A district court abuses its discretion if it applies

an incorrect legal standard, applies the law in an unreasonable or incorrect manner,




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… or makes findings of fact that are clearly erroneous.” Id. (quotation marks

omitted).

                       SUMMARY OF THE ARGUMENT

      I.     The Plaintiffs lack standing to launch their wholesale attack on the Act.

Plaintiffs did not demonstrate—nor even adequately allege—that their intended

instruction would plausibly violate every concept in the Act. Nevertheless, the

district court searched the exhibits in the record for material supporting several bases

for standing no Plaintiff had asserted and concluded that Plaintiffs had standing for

a preliminary injunction with respect to every provision of the Act. But Plaintiffs’

intended instruction—even with the district court’s supplemental gloss—does not

remotely implicate concepts 1, 3, 5, and 6. Plaintiffs thus lack standing to challenge

those provisions.

      II.A. In Bishop, this Court squarely held that individual university professors

do not possess a right of “academic freedom” under the First Amendment to

determine what will be taught in a public-university classroom. When the university

and an individual professor disagree about the content, including viewpoints, of what

will be taught in class, the Court explained, the university must prevail. Here, the

dispute is between the Plaintiff-Professors and the Defendant-Universities over what

will be taught in class. Bishop alone resolves this case in Defendants’ favor.




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      B.     The Court’s holding in Bishop is confirmed by the Supreme Court’s

subsequent government-speech cases, which likewise show that the First

Amendment does not grant individual professors the constitutional right to

determine the public-university curriculum. When public employees speak pursuant

to their official duties, that speech is government speech and thus not subject to First

Amendment protection. Here, the relevant speech is in-class instruction provided by

university professors as the central purpose of their job. Thus, the Court’s

government-speech cases require the same result as Bishop.

      C.     Even if the Act were subject to First Amendment scrutiny, the Act

would pass it. The Act serves the compelling state interest of preventing invidious

discrimination by public employees in public schools. And the Act is narrowly

tailored to advance that interest because it applies only to in-class instruction that

endorses the specific limited concepts.

      III.   None of the Act’s provisions is unconstitutionally vague; they are

expressed in terms that are commonly used and readily understood in everyday

discourse. The invidiously discriminatory meaning of the concept that members of

one race or sex are “morally superior” to members of others is easy for anyone to

discern. So is the concept that individuals must not try to treat others “without respect

to race, color, sex, or national origin.” Indeed, while the district court assailed this

provision’s supposedly inscrutable “triple negative,” the court’s discussion of the

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concept shows that it in fact had no difficulty grasping its plain meaning. And the

line between “endors[ing]” the concepts and “discuss[ing]” them “in an objective

manner” is apparent to ordinary people, let alone university faculty. Indeed, the

whole concept of the rule of law is built on this distinction, for all judges must remain

objective while hearing disputes under the law. At the very least, the Act clearly

satisfies the lower vagueness standard that applies to the regulation of public-

employee speech.

      IV.    To the extent any provision of the Act is unconstitutional, it should be

severed from the remainder of the Act under settled principles. The district court

thought otherwise because, in its view, the vagueness of the Act’s exception for

“objective” discussion of the concepts infected the entire Act. But even if this

exception is unconstitutionally vague because the meaning of objective is

purportedly “impossible” to discern, that conclusion does not mean that the Act’s

general rule is also unconstitutionally vague—for surely no one can genuinely fail

to understand what it means to endorse the enumerated concepts.

      V.     The remainder of the preliminary injunction factors weigh against the

relief granted below. The only irreparable harm alleged by Plaintiffs—the

infringement of their constitutional rights—collapses along with the merits of their

claims. And the district court’s injunction harms the State’s strong interest in the

continued enforcement of its anti-discrimination laws.

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                                   ARGUMENT

I.    Plaintiffs Lack Standing to Challenge Several of the Act’s Provisions.

      In their complaints and declarations, Plaintiffs did not demonstrate—nor even

adequately allege—that their intended teaching would plausibly violate each one of

the eight concepts the Act forbids. Yet the district court granted Plaintiffs a

preliminary injunction against the Act as a whole, including all eight concepts. That

decision is clearly wrong, and this Court should reverse.

      To obtain a preliminary injunction, Plaintiffs bear the burden of demonstrating

“a likelihood of success on the merits,” which includes “a likelihood of the court’s

reaching the merits, which in turn depends on a likelihood that [a] plaintiff has

standing.” Nat’l Wildlife Fed’n v. Burford, 835 F.2d 305, 328 (D.C. Cir. 1987)

(Williams, J., concurring and dissenting) (emphasis in original); App.326. And a

plaintiff seeking a preliminary injunction must do more than merely allege facts

sufficient to demonstrate standing. A plaintiff must demonstrate standing “under the

heightened standard for evaluating a motion for summary judgment,” Waskul v.

Washtenaw Cnty. Cmty. Mental Health, 900 F.3d 250, 255 (6th Cir. 2018) (cleaned

up), by “set[ting] forth by affidavit or other evidence specific facts,” Cacchillo v.

Insmed, Inc., 638 F.3d 401, 404 (2d Cir. 2022) (cleaned up); App.327.

      Moreover, because “[s]tanding is not dispensed in gross,” a “plaintiff must

demonstrate standing for each claim he seeks to press and for each form of relief that


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is sought.” Davis v. FEC, 554 U.S. 724, 734 (2008) (cleaned up). Plaintiffs cannot

leverage an alleged injury under one of the Act’s eight concepts into a challenge

against—and entitlement to a preliminary injunction barring the enforcement of—

other prohibited concepts that they have not demonstrated any intention of

espousing, not to mention the Act as a whole. Instead, as the district court correctly

recognized, “Plaintiffs must also demonstrate standing for each provision of the

statute they challenge,” by “demonstrat[ing] how their speech arguably implicates

each way the [Act’s] prohibition could be violated.” App.335. Under this provision-

by-provision analysis, the district court should have dismissed Plaintiffs’ challenges

to the Act’s concepts 1, 3, 5, and 6, because no Plaintiff—in either of the cases

below—adequately alleged that they intended to subject students to instruction

espousing those concepts.

      In Pernell, as we explained in our briefing below, no Plaintiff demonstrated

(or even adequately alleged) standing to challenge the Act’s concepts 1, 3, 5, 6, and

7. See Pernell, MTD Mem., Doc. 51-1 at 12-14 (Sept. 22, 2022). Indeed, no Pernell

Plaintiff even claimed any intention to subject students to instruction that would

plausibly violate concepts 1 or 5. Id. at 12-13. Only Plaintiff Sandoval mentioned

concept 3, but he did not explain what planned teaching would plausibly violate it.

Id. at 13. And only Plaintiff Almond mentioned concept 6—but again, without

addressing how his intended teaching would advocate that some individuals should

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be treated adversely on account of their race. Id. Several Pernell Plaintiffs claimed

that their teaching would violate the Act’s concept 7, but only because they

misunderstood that concept to cover teaching that merely could cause students to

feel guilt or anguish. But this concept, as the district court itself has correctly

recognized in another pending challenge to the Act, covers only teaching that

instructs students that they must feel guilt or anguish over past actions committed by

other members of their race in which the students played no part. Id. at 13-14; see

Order, Falls v. DeSantis, No. 22-cv-166, Doc. 68 at 9-10 (N.D. Fla. July 8, 2022).

None of the Pernell Plaintiffs alleged any intent to teach that.

      Similarly, in Novoa, Plaintiff Novoa never even claimed that her teaching

would violate the Act’s concepts 1, 2, 4, 5, 6, and 8. In fact, Plaintiff Novoa alleged

only that her intended teaching would plausibly violate the Act’s concepts 3 and 7. 2

And her claims clearly failed as to concept 3, because she misunderstood that

concept to mean that it covered mere descriptions of instances of past historical

racism. Novoa, MTD Mem., Doc. 33-1 at 4-14 (Sept. 30, 2022).

      Appellants explained all of this in their preliminary injunction oppositions

below. In response, neither the Pernell Plaintiffs nor the Novoa Plaintiffs made any

effort to show that their intended teachings arguably would violate the specific



      2
        As the district court recognized, the Novoa Plaintiff Students’ standing is
derivative of Plaintiff Novoa’s standing. App.324-25.
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concepts at issue. Instead, the Pernell Plaintiffs responded only that their challenge

is a “facial” one, that Defendant’s concept-by-concept arguments “go to the scope

of remedy and are not relevant to the Court’s jurisdiction over the claims,” and that

even if they were relevant, all of the Act’s concepts are implicated in the Pernell

Plaintiffs’ vagueness arguments. Pernell, MTD Opp., Doc. 55 at 10-13 (Oct. 4,

2022). And the Novoa Plaintiffs reasserted Plaintiff Novoa’s challenge to the Act’s

concepts 3 and 7, and further argued that Plaintiff Novoa has blanket standing to

“challenge all eight concepts” of the Act because they are vague, overbroad, and

viewpoint discriminatory, but without making any assertion as to what planned

teaching would violate each of the Act’s concepts. Novoa, MTD Opp., Doc. 38 at

10-16 (Oct. 7, 2022).

      That should have been the end of the matter. Yet the district court itself filled

in the gaps in what Plaintiffs had alleged in their complaints and stated in their

declarations and their briefs, parsing their course materials to uncover ways in which

Plaintiffs’ teaching could “arguably violate” concepts in the Act that the Plaintiffs

themselves did not even raise. This judicial intervention was the plainest of errors.

“[O]ur system is designed around the premise that” the parties “are responsible for

advancing the facts and argument entitling them to relief.” United States v. Sineneng-

Smith, 140 S. Ct. 1575, 1579 (2020).




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      For example, Plaintiff Pernell mentions only concept 8 in his declaration,

Pernell, Pernell Decl., Doc. 13-1 at ¶ 20 (Aug. 24, 2022), but the district court

concluded (without addressing concept 8) that his coursework would arguably

violate concepts 3 and 4, App.349. Plaintiff Dorsey did not call out a specific

provision of the Act at all, Pernell, Dorsey Decl., Doc. 13-2 (Aug. 24, 2022), but the

district court concluded that her course assignments might violate concepts 3, 4, and

8, App.350. And even more extraordinary, while Plaintiff Novoa alleged only that

her planned teaching might violate concepts 3 and 7, App.218, the district court sua

sponte concluded her teaching might violate concepts 1, 2, 3, 5 and 7—effectively

conferring upon her standing to raise challenges to the Act that she did not plead,

App.358-59.

      The net result of the district court’s supplementation of the Plaintiffs’

allegations and arguments was to permit the court’s preliminary injunction to apply

to all eight of the of the Act’s concepts. App.421-22. That was error. Plaintiffs’

failure to challenge concepts 1, 3, 5, and 6 means that they lack standing to challenge

those concepts. Therefore, even if Plaintiffs’ claims against the other concepts were

to prevail, principles of severability ensure that these concepts remain enforceable.

See infra at 53-54.




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      II.    The Act Does Not Violate the First Amendment.

      In the name of preserving “a healthy democracy,” App.426, the district court

took control of Florida’s public-university curriculum away from the State’s elected

officials. It reached this result by erroneously applying heightened First Amendment

scrutiny to what is indisputably government speech, which is wholly unprotected by

the First Amendment. The district court’s analysis was contrary to decades of

precedent from both this Court and the Supreme Court regarding in-class speech that

owes its existence to a government employee’s official duties. And even if some

level of heightened scrutiny applied, the Act survives it. This Court should reverse.

      A. Classroom Instruction in Public Universities Is Government Speech
         and Thus Not Entitled to First Amendment Protection.

      This Court’s decision in Bishop v. Aronov squarely held that public-university

professors do not have a First Amendment right to override the university’s decisions

concerning the content of classroom instruction. That holding presciently anticipated

the Supreme Court’s government-speech cases, which establish the principle that the

speech of public employees made pursuant to their official duties is not protected by

the First Amendment. The district court misunderstood and misapplied both Bishop

and the Supreme Court’s government-speech doctrine, and its decision should be

reversed.




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             1.    The Court’s Decision in Bishop Forecloses Plaintiffs’ Claims.

      Over thirty years ago, this Court made clear that the content of classroom

instruction at public universities is subject to control by the government (i.e., the

university), not individual instructors. In Bishop v. Aronov, the Court held that a

public university’s decision to prohibit an individual physiology professor from

sharing his personal religious viewpoints “during instructional time” did not violate

the professor’s free speech rights. 926 F.2d at 1076-77. Although the Court applied

a balancing test, it determined that the university’s viewpoint-based restriction on

the professor’s in-class speech was subject to the mildest of scrutiny—whether it

was “reasonable”—and that such restrictions are effectively per se reasonable. See

id.

      Bishop spoke in no uncertain terms: The university’s “conclusions about

course content must be allowed to hold sway over an individual professor’s

judgments.” Id. at 1077. When an educator and the university “disagree about a

matter of content in the courses he teaches,” the Court explained “the University

must have the final say in such a dispute.” Id. at 1076-77. Therefore, the University,

“as an employer and educator can direct” a professor “to refrain from expression” of

particular “viewpoints in the classroom.” Id. at 1077. The Court summed up the

principle succinctly: “The University necessarily has dominion over what is taught

by its professors and may so manage them.” Id. at 1078.


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      Bishop’s holding resolves this case. The gravamen of Plaintiff Professors’

First Amendment claim is that the Constitution entitles them to decide the content of

the instruction they offer when teaching the State’s prescribed curriculum, in the

State’s classroom, for a State paycheck. And Bishop already balanced the First

Amendment interests in this precise context—concluding, again, that “[t]he

University necessarily has dominion over what is taught by its professors.” Id.

(emphasis added). That square holding should have been the beginning and end of

the district court’s analysis of Plaintiffs’ First Amendment claim.

             2.    The Speech at Issue Is Government Speech.

      The result compelled in this case under Bishop mirrors the result required

under the Supreme Court’s government-speech cases, which make clear that the

speech at issue here is not protected by the First Amendment at all. Take first the

Supreme Court’s seminal decision in Rosenberger. There, the Court explained that

it is “the University speaking” when it “determines the content of the education it

provides.” 515 U.S. at 833. And when the government “is the speaker,” it may

“regulate the content of what is or is not expressed,” including imposing “viewpoint-

based restrictions.” Id. at 834. The Court confirmed this sentiment in Board of

Regents of University of Wisconsin System v. Southworth, stating that “speech by an

instructor or a professor in the academic context” implicates the “principles

applicable to government speech.” 529 U.S. 217, 235 (2000). Here, the State of


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Florida is specifically regulating “what is or is not expressed” in “the education it

provides.” Therefore, it is regulating its own speech when it restricts “speech by an

instructor or a professor in the academic context.” And when “government speaks,

it is not barred by the Free Speech Clause from determining the content of what it

says.” Walker, 576 U.S. at 207.

      Second, consider the Supreme Court’s government-funding cases. The Court

has consistently “refused to hold that the Government unconstitutionally

discriminates on the basis of viewpoint when it chooses to fund a program” to the

exclusion of other viewpoints. Id. at 208 (cleaned up). This refusal stems from the

Court’s recognition “that when the government appropriates public funds to promote

a particular policy of its own it is entitled to say what it wishes.” Rosenberger, 515

U.S. at 833. Here, the State of Florida “appropriates public funds” to support public

education at the State’s universities. Under these principles, the State of Florida is

thus “entitled to say what it wishes” and to specify the “viewpoint” that is taught in

the public education that it provides. Under the district court’s decision, however, it

is the State-funded educators, not the State, who are entitled, uniquely among public

employees, to say what they wish in their workplace as part of their job duties.

      Third, consider the Court’s cases involving the use of public property by

private parties to communicate a government message. The Court has made clear

that the government may “express its views when it receives assistance from private

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sources for the purpose of delivering a government-controlled message.” Pleasant

Grove City, Utah v. Summum, 555 U.S. 460, 468 (2009). Pleasant Grove held that

“even when ‘accepting a privately donated monument and placing it on city

property,’” the government “had ‘engaged in expressive conduct’” and was thus

entitled to control the content, including the viewpoint, of its message. Walker, 576

U.S. at 209 (quoting Pleasant Grove, 555 U.S. at 476 (cleaned up)). The Court

applied these principles again in Walker, holding “that license plate designs

proposed by private groups also amounted to government speech” and thus were not

subject to First Amendment scrutiny. See Shurtleff v. City of Boston, Mass., 142 S.

Ct. 1583, 1590 (2022) (describing Walker). Again, this line of government-speech

cases renders the decision below completely untenable. For if the speech of private

individuals proposing license plate slogans is government speech, then surely the

classroom speech of state-employed educators at state universities is too.

      Finally, consider the Supreme Court’s 2006 decision in Garcetti. There, the

Supreme Court explained that when “public employees make statements pursuant to

their official duties, the employees are not speaking as citizens for First Amendment

purposes.” Garcetti, 547 U.S. at 421-22. And “[r]estricting speech that owes its

existence to a public employee’s professional responsibilities does not infringe any

liberties the employee might have enjoyed as a private citizen.” Id. Therefore, a

public employer may punish or otherwise regulate an employee’s professional

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speech, and “the employee has no First Amendment cause of action.” Id. at 418. The

classroom speech of public-university professors clearly falls within the rationale of

Garcetti because these statements are made “pursuant to their official duties.” 547

U.S. at 421-22. To be sure, Garcetti reserved the question whether its holding applies

in full to classroom instruction. Id. at 425. But this case invites the Court to make

clear that Bishop anticipated and answered that reserved question, and that, in any

event, on the plain reasoning of Garcetti and the other government speech cases, the

answer cannot reasonably be in doubt.

      Several circuits, including this one, have recognized that the government-

speech doctrine applies to in-class instruction by state-employed educators. As then-

Judge Alito explained for the Third Circuit in a closely analogous case, “a public

university professor does not have a First Amendment right to decide what will be

taught in the classroom.” Edwards, 156 F.3d at 491. That decision was grounded in

“the Supreme Court’s jurisprudence concerning the state’s ability to say what it

wishes when it is the speaker.” Id. (citing Rosenberger, 515 U.S. at 833-34). Writing

for the Seventh Circuit, Judge Easterbrook explained that, because “teachers hire out

their own speech,” applying Garcetti to public high school teachers’ in-class speech

is “an easier case for the employer than Garcetti” itself, “where speech was not what

the employee was being paid to create.” Mayer, 474 F.3d at 479 (emphasis added).

The Sixth Circuit has likewise applied Garcetti to in-class instruction in a public

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high school. See Evans-Marshall v. Bd. of Educ., 624 F.3d 332 (6th Cir. 2010). 3

Judge Sutton’s opinion for the court explained that “[w]hen a teacher teaches,” the

school has hired that speech and, accordingly, the school “can surely ‘regulate the

content of what is or is not expressed.’” Id. at 340 (quoting Rosenberger, 515 U.S.

at 833). The Fourth Circuit reached the same result: where speech is “curricular in

nature,” it is “not protected by the First Amendment.” See Lee v. York Cnty. Sch.

Div., 484 F.3d 687, 696-97 (4th Cir. 2007) (citing Boring v. Buncombe Cnty. Bd. of

Educ., 136 F.3d 364, 368-69 (4th Cir. 1998) (en banc)).

      Finally, this Court, in an unpublished opinion, made short work of a First

Amendment claim by a high school teacher who was fired as a result of her written

responses to questions asked by her principal. “We apply Garcetti … and conclude

that [the teacher’s] speech was not protected by the First Amendment because she

spoke pursuant to her official duties.” Gilder-Lucas v. Elmore Cnty. Bd. Of Educ.,

186 F. App’x 885, 886 (11th Cir. 2006) (cleaned up).

      In sum, all three strands of the Supreme Court’s government-speech doctrine

apply in this case: public university professors are employed by the State, are funded



      3
        In a subsequent decision, the Sixth Circuit cabined Evans-Marshall to the
K-12 context, see Meriwether v. Hartop, 992 F.3d 492 (6th Cir. 2021), but
Meriwether’s basis for distinguishing that case from the university context was
expressly premised on the notion that academic freedom is an independent First
Amendment right of college educators, a view that this Court expressly rejected in
Bishop, 926 F.2d at 1075.
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by the State, and work in the State’s classrooms. Thus, while Bishop alone requires

reversal, even if that case had never been decided, the Supreme Court’s subsequent

government-speech cases compel the same result: the Individual Freedom Act

regulates only government speech and thus does not implicate the First Amendment

rights of educators in Florida’s public schools.

               3.   The Court Below Misapplied This Court’s Precedent and
                    Ignored the Principles of the Government Speech Doctrine.

      The court below read Bishop to yield the precise reasoning that the decision

repudiated: that the State of Florida, instead of having “dominion over what is taught

by its professors,” 926 F.2d at 1078, is constitutionally prohibited from prescribing

what is, and is not, to be taught by state-employed educators in its state-funded

universities. And according to the district court, university professors are uniquely

exempt from the principles of the Supreme Court’s government-speech cases. Under

this theory, university professors—called the “priests of democracy” by the district

court—stand alone among all other public employees, with the First Amendment

freedom to say whatever they wish pursuant to their official duties, their employer

be damned. 4




      4
         The district court correctly concluded that the Plaintiff Students’ claims were
“coextensive” with the professors’ speech rights and thus the students’ claims rise
or fall with the resolution of the professors’ claims. See App.322.

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      i.    Turning first to Bishop, the district court erred at multiple levels in

applying that decision. For example, the court repeatedly suggested that Bishop was

effectively an Establishment Clause case. See App.381-82, 386 (stating that the case

involved “the ever-present specter of an establishment violation” (cleaned up)). But

Bishop made clear (numerous times) that its holding arose under the Speech Clause

and not the Establishment Clause. See 926 F.2d at 1078 (“[W]e hold” that the

government’s decision “was reasonable and within its power to control the content

of curriculum in the classroom, regardless of the Establishment Clause.” (emphasis

added)); id. at 1077 (“[W]e do not reach the establishment questions raised by Dr.

Bishop’s conduct.”).

      The district court also attempted to distinguish Bishop on the ground that it

involved only one professor. But that, again, conflicts directly with Bishop’s

teaching that “the University necessarily has dominion over what is taught by its

professors and may so manage them.” Id. at 1078.

      But the district court’s most fundamental error, as discussed supra at pp. 3-7,

was its insistence that Bishop drew a distinction between the State’s unquestioned

authority to control the subjects taught in “the established curriculum,” App.383,

and professors’ freedom to express their personal viewpoints on matters within the

scope of that curriculum. According to the district court, the State may permissibly

ban, wholesale, discussion of a “subject,” but once the State decides to permit the

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discussion of a particular “subject,” the State’s professors have the “academic

freedom” to advocate their own viewpoints related to that subject. See App.385-87,

396. 5

         That distinction is nowhere to be found in Bishop and is, in fact,

fundamentally inconsistent with it. Bishop did not concern the scope of the State’s

authority to establish which courses will be taught in the curriculum prescribed for

its universities. That state authority is questioned by no one. Instead, as in this case,

Bishop concerned “what is taught by its professors,” 926 F.2d at 1078—the “course

content,” id. at 1077—and in particular, whether the State could require “that its

courses be taught without personal religious bias unnecessarily infecting the teacher

or the students.” 926 F.2d at 1076. Nor did Bishop concern a dispute about the

“content” of classroom speech rather than “viewpoint.” Dr. Bishop’s “Christian

perspective,” id., and his advocacy of intelligent design, was a component of his

professional viewpoint on the physiology curriculum he was teaching. Indeed, this

Court specifically held that the university could “prevent him from presenting his

religious viewpoint during instructional time, even to the extent that it represents his


         The subjective malleability of this standard is evidenced in the district
         5

court’s standing analysis. While the district court assures that the attempt “to teach
an introductory botany class through the lens of critical race theory” would not be
within the established curriculum, App.383, it nevertheless enjoined enforcement of
the Act against a Plaintiff statistics professor who teaches through the lens of
“systemic discrimination,” App.355-56. The district court’s distinction between this
professor and the hypothetical botany professor is neither explained nor obvious.
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professional opinion about his subject matter.” Id. at 1077 (emphasis added); see id.

at 1076 n.7 (crediting that Professor Bishop’s “professional views” as a physiology

professor were “informed by his religious beliefs”).

      Moreover, it is nonsensical to import a distinction between content and

viewpoint into the government-speech doctrine. “Were the Free Speech Clause

interpreted otherwise, government would not work.” Walker, 576 U.S. at 207.

“Indeed, it is not easy to imagine how government”—and a public university in

particular—“could function if it lacked th[e] freedom” to have a viewpoint. Pleasant

Grove, 555 U.S. at 568; see also Nat’l Endowment for Arts v. Finley, 524 U.S. 569,

598 (1998) (Scalia, J., concurring) (“It is the very business of government to favor

and disfavor points of view.”). Surely a university is entitled to prohibit its political-

science professors from inculcating in class the idea that slavery was a beneficent

institution and should be legal or its science professors from inculcating in class the

idea that eugenics should be used for population control.

      The district court repeatedly emphasized that “Bishop explicitly adopted a

balancing test.” App.378. But it failed to appreciate that, as discussed above, Bishop

itself balanced the First Amendment interest in this precise context and declared the

outcome: a university’s “conclusions about course content must be allowed to hold

sway over an individual professor’s judgments.” 926 F.2d at 1077. Lower courts are




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not free to reject the balance specifically struck in Bishop by reweighing those

factors.

      ii.    The district court also largely elided the reasoning of the Supreme

Court’s government-speech precedent. The district court emphasized that the Court

in Garcetti reserved the question whether its rule would apply to the academic

context—a question not before the Garcetti Court. Missing from its analysis is any

recognition that courts are bound not only by the result, but also by the reasoning of

a Supreme Court decision. See Seminole Tribe of Fla. v. Florida, 517 U.S. 44 (1996);

Ramos v. Louisiana, 140 S. Ct. 1390, 1416 n.6 (2020) (Kavanaugh, J., concurring).

      In an effort to distinguish Rosenberger, the district court recast that decision

as permitting only content-based discrimination and foreclosing viewpoint

discrimination when the government regulates in-class speech. To be sure,

Rosenberger used the word “content” in stating that “it is the University speaking”

when it “determines the content of the education it provides.” Rosenberger, 515 U.S.

at 833. But the Court’s point in this sentence was about who was speaking, not the

substance of the speech. Determining who is the speaker—the government or a

private individual—is, after all, the dispositive constitutional question. And the

Rosenberger Court clearly implied that “viewpoint-based restrictions are proper”

when the university itself speaks. See id. at 834. Indeed, subsequent decisions have

cited this same passage from Rosenberger for the proposition that the government is

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“‘entitled to say what it wishes’” and to “express its views” when it speaks. Pleasant

Grove, 555 U.S. at 467-68 (quoting Rosenberger, 515 U.S. at 833) (emphasis

added). That the Supreme Court has used the words “content” and “view” or

“viewpoint” interchangeably in government-speech cases simply confirms there is

no distinction between “content” and “viewpoint” discrimination when the

government is speaking. Compare Walker, 576 U.S. at 207 (“When government

speaks, it is not barred by the Free Speech Clause from determining the content of

what it says.” (citing Pleasant Grove, 555 U.S. at 467-68)), with Shurtleff, 142 S.

Ct. at 1589 (“The First Amendment’s Free Speech Clause does not prevent the

government from declining to express a view.” (citing the same pages of Pleasant

Grove)).

      In short, the principles established by the Supreme Court’s government-

speech cases make clear that the speech at issue here is government speech and thus

is not protected by the First Amendment.

      iii.   The district court and Plaintiffs argue that “academic freedom” is an

independent constitutional “interest” held uniquely by public university

professors—that they alone stand outside the government speech doctrine, free to

say what they please in performing their jobs no matter what their public employers

think about it. This is not a tenable understanding of the First Amendment.




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      Both the court below and Plaintiffs ground this supposed right primarily in a

trilogy of Supreme Court cases decided during the Cold War era. See Keyishian v.

Bd. of Regents, 385 U.S. 589 (1967); Sweezy v. New Hampshire, 354 U.S. 234

(1957); Wieman v. Updegraff, 344 U.S. 183 (1952). They place special reliance on

the statement from Keyishian that “academic freedom” is “a special concern of the

First Amendment, which does not tolerate laws that cast a pall of orthodoxy over the

classroom.” 385 U.S. at 603. The argument does not withstand analysis.

      First and foremost, it is foreclosed by Bishop, which acknowledged that

“abundant cases,” including Keyishian, “acclaim academic freedom.” 926 F.2d at

1075. But their “pronouncements about academic freedom,” Bishop explained,

“cannot be extrapolated to deny schools command of their own courses.” Id.

      Second, as the Supreme Court has repeatedly emphasized, the education of

the Nation’s youth is primarily the responsibility of parents, teachers, and state and

local officials, and not of federal judges.” Hazelwood Sch. Dist. v. Kuhlmeier, 484

U.S. 260, 273 (1988). And “States historically have been sovereign” in the field of

“education.” United States v. Lopez, 514 U.S. 549, 564 (1995). Therefore, the

“traditional role in the formulation and execution of education policy” belongs to

“the States.” Bd. of Educ. of Hendrick Hudson Cent. Sch. Dist. v. Rowley, 458 U.S.

176, 208 n.30 (1982). This district court’s decision, however, “would commit state

and federal courts to a new, permanent, and intrusive role” in managing public-

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university curriculums that is contrary to “sound principles of federalism.” Garcetti,

547 U.S. at 423. Bishop put it succinctly: “Federal judges should not be ersatz deans

or educators.” 926 F.2d at 1075.

      Third, academic freedom is a right of institutional, rather than individual,

autonomy. As the en banc Fourth Circuit explained in an exhaustive analysis of

academic freedom, it belongs to the university, not individual professors. See

Urofsky v. Gilmore, 216 F.3d 401, 410 (4th Cir. 2000) (en banc). Urofsky canvassed

the very cases on which Plaintiffs rely (and others) and noted that “the Supreme

Court has never set aside a state regulation on the basis that it infringed a First

Amendment right to academic freedom.” Id. at 412 (emphasis added). Instead, the

cases like Keyishian all “involve[] restrictions on state employees’ rights as private

citizens”—not as government employees—“to speak and associate.” Id. at 413-14

(emphasis added). Other courts agree. As then-Judge Alito explained, “academic

freedom ha[s] been described” only “as a university’s freedom.” Edwards, 156 F.3d

at 492 (emphasis added); see also Johnson-Kurek v. Abu-Absi, 423 F.3d 590, 593

(6th Cir. 2005) (“To the extent the Constitution recognizes any right of ‘academic

freedom’ above and beyond the First amendment rights to which every citizen is

entitled, the right inheres in the University, not in individual professors.” (cleaned

up)); Emergency Coal. To Defend Educ. Travel v. U.S. Dep’t of the Treasury, 545

F.3d 4, 19-20 (D.C. Cir. 2008) (Silberman, J., concurring) (noting his “doubts” that

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“‘academic freedom’ is a constitutional right at all and that, should it exist, it inheres

in individual professors”).

      Moreover, the institutional right of academic freedom is best understood as

one commanding judicial deference to the university’s academic decisions. The

Supreme Court has cited Keyishian, for example, as demonstrating the Supreme

Court’s “reluctance to trench on the prerogatives of state and local educational

institutions.” Regents of the Univ. of Mich. v. Ewing, 474 U.S. 214, 226 (1985).

      Nor is there merit in Plaintiffs’ suggestion that principles of academic freedom

permit a state university (or its president), but not the State Legislature, to regulate

professors’ in-class speech. Pernell Stay Resp. at 14-16. The notion that

“[u]niversities, as subordinate organs of the State, have First Amendment rights

against” or above “the State or its voters” is antithetical to any proper understanding

of State sovereignty. See Coal. to Def. Affirmative Action v. Granholm, 473 F.3d

237, 247 (6th Cir. 2006). Even Grutter, which stated that “universities occupy a

special niche in our constitutional tradition,” nevertheless acknowledged that States

are entitled to regulate universities. See Grutter v. Bollinger, 539 U.S. 306, 329, 342

(2003). And a majority of the Supreme Court later confirmed that the academic

freedom of universities described in Grutter does not make them enclaves free from

regulation by voters or their elected representatives. See Schuette v. Coal. to Defend




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Affirmative Action, 572 U.S. 291, 301 (2014) (plurality) (BAMN); id. at 317 (Scalia,

J., concurring).

      Finally, cases like Sweezy and Keyishian, which involved restrictions

encompassing a professor’s extracurricular affiliations and publications, are

particularly inapposite here, given the Act’s limitation to in-class instruction by State

educators. As its text makes plain, the Act regulates only the State’s educational

“instruction,” FLA. STAT. § 1000.05(4)(a). The Act therefore does not regulate a

professor’s scholarship, research, public speeches, writings, or anything other than

in-class instruction. Nor does it regulate the speech of those who do not speak on

behalf of the State, such as guest speakers or other invitees.

      The Act therefore does not prohibit “in-class debate between guest speakers

about the merits of” the concepts, as the court below suggested. See App.300. An

event where guest speakers debate the merits of an issue but the professor does not

endorse one side or the other of the debate would clearly fall within the Act’s express

provision permitting “discussion of the concepts” so long as the “instruction is given

in an objective manner without endorsement of the concepts.” FLA. STAT.

§ 1000.05(4)(b).

      The district court’s extended discussion of a hypothetical speech by Justice

Sotomayor thus fails to account for the Act’s text. The court imagined a scenario

where Justice Sotomayor would be prohibited by the Act from reading a passage of

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her book to a class of law students. App.301-02. But guest speakers, again, are not

regulated by the Act at all, and merely hosting a guest speaker obviously would not

itself be an endorsement by the host professor of what the speaker says. The district

court’s parade-of-horribles hypothetical thus has nothing to do with the statute at

issue. 6

       iv.   The implications of the district court’s ruling are horrifying. Under the

court’s reasoning, if a university permits the discussion of World War II in a history

course within the “established curriculum,” then a professor has a First Amendment

right to advocate the viewpoint that the Holocaust is a hoax and Nazis were the good

guys. Or if a university permits the discussion of the Jim Crow era within the

“established curriculum,” then a professor has a First Amendment right to inculcate

the viewpoint that Jim Crow was justified because white people are “superior” to

black people. To avoid these results, according to the district court, the university


       6
         The district court built this hypothetical based on what the court viewed as
an assertion by Defendants’ counsel at the preliminary-injunction hearing. See
App.300 (citing Tr. 80). But as the transcript of this somewhat disjointed exchange
at argument reveals, counsel was answering a question regarding a professor who
brings in a guest speaker to provide instruction espousing the prohibited concepts as
part of class instruction. Tr. 80. As previously noted, supra at 2, the Board’s
Regulation defines “instruction” to mean teaching “by a university employee” or
other person “authorized to provide instruction by the university within a course.”
Thus, the Act obviously prohibits a professor from willfully circumventing the Act
by enlisting an agent to provide the very same instruction that the professor is
prohibited from providing. But simply presenting a concept—whether through a
reading assignment, a presentation, or an in-class debate—does not violate the Act
if the professor does not personally endorse the concept.
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would presumably be forced to ban discussion of World War II and Jim Crow

altogether. That cannot be the law.

      Yet that result is precisely what Plaintiffs contemplate, as shown by Plaintiffs’

own discussion of professors who endorse Holocaust denial during in-class

instruction. Pernell Stay Resp. at 27. On Plaintiffs’ account, the State’s elected

officials are utterly powerless—indeed, prohibited by the Constitution—from doing

anything to stop that instruction in a public-university classroom. But not to worry,

Plaintiffs say, because a professor who teaches “that the Holocaust was a hoax would

likely be summoned by her department chair to explain the basis for the lesson and

the context surrounding it.” Id. Regardless of the level of faith the State has in its

university “department chairs,” the Constitution does not require the State’s elected

officials—and, in turn, the People of the State—to simply hope that administrators

at public universities will “likely” ask to hear “the context surrounding” the

endorsement of the idea that “the Holocaust was a hoax.” No, the People of the State

of Florida, through their elected officials, are entitled to prohibit the State’s

educators from endorsing that idea as part of instruction to students in a State

classroom.

      These are not mere wild hypotheticals. The Third Circuit—following then-

Judge Alito’s opinion in Edwards—held that a world history teacher did not have a

First Amendment right to, among other things, “questio[n] historical accounts of the

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Holocaust, and opin[e] that ‘Hitler didn’t hate the Jews.’” Ali v. Woodbridge Twp.

Sch. Dist., 957 F.3d 174, 178, 184 (3d Cir. 2020). And a white high-school teacher

in Texas was recently fired for telling students that his race “is the superior one”—

using language remarkably similar to concept 1 in the Act. Andi Babineau, White

teacher in Texas fired after telling students his race is ‘the superior one’, CNN (Nov.

15, 2022), https://cnn.it/3VCQWl4. While these examples concern the context of K-

12 instruction, under the district court’s reasoning, both of these teachers would have

a First Amendment claim if they were teaching at a university that permitted any

discussion of either World War II or Jim Crow “within the established curriculum.”

Despite the differences between the K-12 and university-level contexts, that

reasoning is clearly wrong in both, and this Court should reverse the decision below.

      The district court purported to be defending “a healthy democracy.” App.426.

But it nevertheless insisted that the question of in-class instruction “must be taken

from the reach of the voters, and thus removed from the realm of public discussion,

dialogue, and debate in an election campaign.” BAMN, 57 U.S. at 312. That

argument is fundamentally “inconsistent with the underlying premises of a

responsible, functioning democracy.” Id. at 312.

      B. The Act’s Educational Provisions Satisfy Any Understanding of the
         Standard Established by Bishop.

      Even if the Court reads Bishop as adopting a level of scrutiny marginally more

stringent than rational basis review, that standard still requires, only and at most, that
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the Act’s provisions be “reasonable.” Bishop, 926 F.2d at 1076. The Act’s

educational provisions easily pass that test. As the Ninth Circuit held, educational

statutes that, among other things, prohibit teaching classes that “[p]romote

resentment toward a race or class of people” or “[a]dvocate ethnic solidarity instead

of the treatment of pupils as individuals” are “reasonably related to the state’s

legitimate pedagogical interest in reducing racism.” Arce v. Douglas, 793 F.3d 968,

973, 985-86 (9th Cir. 2015) (cleaned up). And Bishop itself recognized that a

university has an inherent “interest[] in the classroom conduct of its professors.”

Bishop, 926 F.2d at 1076.

      In contrast, the district court concluded that the State’s regulation of the

viewpoints taught in class by its state-employed educators is never “reasonable”

within the meaning of Bishop. See App.387-88. The district court held that, even if

the interest served by the IFA was to “address the pedagogical concern of reducing

racism or prohibiting racial discrimination,” a viewpoint-based restriction “is

certainly not reasonable.” App.388 (emphasis in original). That conclusion is

untenable. The compelling nature of the government’s interest in preventing

invidious racial discrimination in public education is so fundamental that it is

embodied in our highest law. See Bob Jones Univ. v. United States, 461 U.S. 574,

604 (1983).




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        But the substance of the district court’s holding is that government regulation

of any viewpoint taught in government-funded courses by government-employed

instructors—no matter how compelling the government interest—is per se

unconstitutional. 7 Under this theory, literally no viewpoint is out of bounds. The

district court offered no authority for this extreme proposition, and it certainly does

not come from Bishop.

        III.   The Challenged Provisions Are Not Unconstitutionally Vague.

        The Court should also reverse the district court’s ruling that two of the Act’s

provisions are unconstitutionally vague. “Under the Due Process Clause, a law is

void for vagueness if it fails to give ordinary people fair notice of the conduct it

punishes or is so standardless that it invites arbitrary enforcement.” Jones v.

Governor of Fla., 975 F.3d 1016, 1046 (11th Cir. 2020). Neither condition is present

here.

        In the typical speech context, the government must regulate “with narrow

specificity”—though “perfect clarity and precise guidance have never been required




        The district court suggested that Defendants “may” face a higher burden than
        7

the burden imposed by Bishop because the Act is a “prophylactic ban on expression”
applicable to all public instructors. See App.387 n.53 (citing United States v. Nat’l
Treasury Emps. Union, 513 U.S. 454 (1995) (“NTEU”). But NTEU applied a
heightened standard only “[b]ecause the vast majority of the speech at issue” did
“not involve the subject matter of Government employment and takes place outside
the workplace.” 513 U.S. at 470; see also id. at 475. NTEU is thus simply irrelevant
here.
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even of regulations that restrict expressive activity.” Wollschlaeger v. Governor of

Fla., 848 F.3d 1293, 1320 (11th Cir. 2017). But “[i]n the public employment

context,” a more lenient standard applies: a provision governing public employees

is “not void for vagueness as long as ordinary persons using ordinary common sense

would be notified that certain conduct will put them at risk of discharge.”

O’Laughlin v. Palm Beach Cnty., 30 F.4th 1045, 1055 (11th Cir. 2022) (cleaned up).

      For example, although “speech restrictions must generally precisely define the

speech they target,” as a plurality of the Supreme Court explained, “surely a public

employer may, consistently with the First Amendment, prohibit its employees from

being ‘rude to customers,’ a standard almost certainly too vague when applied to the

public at large.” Waters v. Churchill, 511 U.S. 661, 673 (1994) (plurality); see also

Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675, 686 (1986) (“[T]he school

disciplinary rules need not be as detailed as a criminal code which imposes criminal

sanctions.”). Therefore, “[g]overnment employee speech must be treated

differently” in the vagueness analysis. See Waters, 511 U.S. at 673. Recognizing this

principle, courts have upheld the termination of public university professors based

on, for example, a provision requiring professors “to maintain ‘standards of sound

scholarship and competent teaching.’” San Filippo v. Bongiovanni, 961 F.2d 1125,

1137 (3d Cir. 1992); see also Arnett v. Kennedy, 416 U.S. 134, 158-62 (1974)

(plurality) (upholding regulation permitting termination for speech that hindered the

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“efficiency of the service”). The district court acknowledged that the public-

employee standard applies here. App.404-05 And the Act readily satisfies it.

O’Laughlin, 30 F.4th at 1055.

      Each of the challenged provisions uses plain, everyday language that has an

“ordinary or natural meaning” commonly known and understood by ordinary people,

and certainly by highly educated university instructors. Yes, “the fact that the [Act]

uses real words found in an English dictionary does not magically extinguish

vagueness concerns.” App.404. But courts routinely use dictionaries to confirm that

allegedly vague language in fact has an “ordinary meaning” that “is readily

understandable.” Tracy v. Fla. Atl. Univ. Bd. of Trs., 980 F.3d 799, 807 (11th Cir.

2020). Nor is the Act’s language “so standardless” that it invites arbitrary

enforcement. Jones, 975 F.3d at 1046. Because Plaintiffs challenge the Act on a pre-

enforcement basis, their burden to show the risk of discriminatory enforcement is

much higher. See Vill. of Hoffman v. Flipside, Hoffman Est., Inc., 455 U.S. 489, 503

(1982); High Ol’ Times, Inc. v. Busbee, 673 F.2d 1225, 1231 (11th Cir. 1982). And

two further features of the Act and the Board’s regulation render Plaintiffs’ burden

insurmountable.

      First, “even laws that are in some respects uncertain may be upheld against a

vagueness challenge if they contain a scienter requirement.” Jones, 975 F.3d at 1047.

And the scienter requirement in the Act and the Board’s Regulation 10.005

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eliminates any genuine vagueness concerns. The Act uses terms that clearly imply a

scienter requirement—restricting only the intentional act of providing classroom

instruction that “espouses, promotes, advances, inculcates, or compels [a student] to

believe” one of the enumerated concepts. FLA. STAT. § 1000.05(4)(a); see Arce, 793

F.3d at 988-89 (noting that verbs like “advocate” and “promote” “impl[y] an

affirmative act and intent”).

      Second, Regulation 10.005 explains that universities should enforce the Act

against individual instructors who violate it by first mandating that the instructor

“modify” the offending training or instruction, and second by using “disciplinary

measures” only “if there is a failure or refusal to comply with the mandate.”

Regulation 10.005(3)(c). This structure—punishing only a failure or refusal to take

corrective action—likewise reduces vagueness concerns. See U.S. Civil Serv.

Comm’n v. Nat’l Ass’n of Letter Carriers, AFL-CIO, 413 U.S. 548, 580 (1973)

(“Letter Carriers”). The district court pointed out that discipline is authorized under

the Regulation for an instructor’s “failure,” as well as “refusal,” to conform his

teaching to the Act. App.415. But even such a “‘failure’ to comply” can subject the

instructor to discipline only after the University has informed him precisely what the

Act requires and precisely which teachings it has concluded violate it—thus

mitigating any potential vagueness concerns.




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      The district court rejected these considerations and held that the Act is

unconstitutionally vague. Its reasoning, however, was limited to just two provisions

of the Act. Both of them use plain, commonly understood language and provide fair

notice of what the Act prohibits.

      A.     The district court first rejected as vague concept 4—that “[m]embers of

one race … cannot and should not attempt to treat others without respect to race,

….” FLA. STAT. § 1000.05(4)(a)(4). Much of the court’s discussion (with respect to

this provision and the other one it addressed) incorporated its earlier opinion in

another case challenging the Act, Honeyfund.com, Inc. v. DeSantis, 2022 WL

3486962 (N.D. Fla. Aug. 18, 2022), which is currently before this Court on appeal,

No. 22-13135 (11th Cir.). The court deemed this concept “unintelligible” largely

because of its use of “a rarely seen triple negative.” App.405. But this concept simply

and clearly bars instructors from endorsing the view that members of one race are

powerless to treat others in a color-blind manner, and they should not even try to do

so. If this provision is so “unintelligible” as to be unconstitutionally vague, one

wonders what is to become of the thousands of far more intricate provisions that

riddle the statute books. See, e.g., 15 U.S.C. § 77k; 26 U.S.C. § 501; 52 U.S.C.

§ 30116.

      Indeed, the hypotheticals posed by the district court in the very next paragraph

show that the court had no genuine difficulty whatsoever in cutting through the

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alleged “cacophony of confusion” purportedly created by the provision’s “triple

negative.” App.405. Ordinary people will not have any difficulty either. Nor will

they have any difficulty in seeing that the concept plainly does not ban general

discussion of “diversity” or acknowledgement of students “differing cultural

backgrounds,” App.406—since such discussions do not amount to advocacy of the

idea that individuals “cannot and should not attempt to treat others” without respect

to their race.

       B.        The district court’s second and more extended discussion centered

around the supposed vagueness of the word “objective” in the Act’s provision

permitting “discussion of the [eight] concepts … in an objective manner without

endorsement of the concepts.” FLA. STAT. § 1000.05(4)(b) (emphasis added). It

concluded that the concept of “objectivity” is “utterly ambiguous,” and that because

“this ‘objectivity’ savings clause commands the entire statute,” the Act is

unconstitutionally vague in its entirety, and Plaintiffs are entitled to a blanket

preliminary injunction against all of it. App.416 & n.62. Not so.

       To discuss a concept “in an objective manner” is, obviously, to discuss it

“without distortion by personal feelings, prejudices, or interpretations.” Objective,

MERRIAM-WEBSTER’S DICTIONARY, https://bit.ly/3zcLbB1. In contrast, to “endorse”

a concept is “to give approval to” or “support” it. Endorse, WEBSTER’S NEW WORLD




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COLLEGE DICTIONARY 470 (4th ed. 2002). Therefore, the plain meaning of the Act

permits instructors to discuss the concepts without expressing approval of them.

      The district court insisted that “few terms are as loaded and contested as

‘objective.’” App.415. But ordinary people understand the plain, everyday meaning

of objectivity. Moreover, the entire American legal framework is built upon the

belief that it is possible—and indeed, critically necessary to the law’s very

legitimacy—to distinguish between endorsing and advocating an idea and neutrally

and objectively discussing and considering it. That is a line that appears throughout

the law and that our adversarial legal system trusts its judges, attorneys, and officers

to draw every single day. This Court’s Pattern Jury Instructions, for example,

repeatedly instructs juries—ordinary people drawn randomly from the community—

to draw this line, instructing them to determine when an action or belief is

“objectively reasonable,” or to distinguish “objective” conditions from a “plaintiff’s

subjective feelings.” See, e.g., PATTERN JURY INSTRUCTIONS, CIVIL CASES,

ELEVENTH CIRCUIT (2013 revision) 4.19, 4.22 cmt. 2, https://bit.ly/3OguaWU.

Indeed, while the district court professed to find the Act’s use of the term “objective”

“utterly ambiguous,” App.410, the court itself has used that term on numerous




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occasions, without any apparent concern that his readers would be confounded by

it. 8

        The court’s principal response to this argument was to claim that even if the

term “objective” has a commonly understood meaning on its own, “the term loses

that meaning” here, because the Act “allows for the most zealous condemnation of

the eight concepts—motivated by an instructor’s own personal prejudice or biases,”

but it does not allow endorsement of the concepts by those “who wish to promote

the[ir] merits.” App.411. Thus, according to the court below, the Act “redefine[s]

‘objectivity’ in a manner that does not comport with common sense,” by allowing

“for only one side of the debate in Florida’s public universities.” Id.

        This argument is built upon a fundamental and obvious misunderstanding of

the Act’s text and structure. Yes, of the three possible dispositions towards the eight

concepts enumerated by the Act—condemnation, neutral objectivity, and

endorsement—Florida’s public-university instructors are only prohibited from

endorsement. But that is not because the Act somehow “has redefined ‘objectivity’”

in subsection (4)(b)’s exception to the Act’s prohibition, id.; it is because subsection

(4)(a)’s operative prohibition only proscribes endorsing the concepts, not



       See, e.g., Akridge v. Sch. Bd. of Alachua Cnty., 2019 WL 13084482, at *5
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n.3 (N.D. Fla. May 28, 2019); Wilborn v. Ocwen Loan Servicing, LLC, 2019 WL
12288376, at *8 (N.D. Fla. Mar. 17, 2019); HVLPO2, LLC v. Oxygen Frog, LLC,
2019 WL 13164663, at *8 (N.D. Fla. Feb. 20, 2019).
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condemning them. That has nothing to do with subsection (4)(b)’s exception—which

merely confirms that “discussion of the concepts … in an objective manner” that

does not endorse any particular view of the concepts remains permissible—so it

cannot render subsection (4)(b) unconstitutionally vague.

      In sum, even if “the prohibitions may not satisfy those intent on finding fault

at any cost,” the Act’s provisions “are set out in terms that the ordinary person

exercising ordinary common sense can sufficiently understand and comply with.”

Letter Carriers, 413 U.S. at 578-79. Therefore, the Act’s provisions are not

unconstitutionally vague.

      IV.    Any Unconstitutional Provisions Are Severable.

      Even if Plaintiffs’ claims were likely to succeed with respect to one or more

of the Act’s provisions, the court below erred in declining to sever them from the

remainder of the Act. Severability is “a matter of state law,” and in Florida

unconstitutional provisions are severable even in the absence of a severability clause

if “(1) they can be separated from the remaining valid provisions; (2) the legislative

purpose expressed in the valid provisions can be accomplished independently of

those which are void; (3) the good and the bad features are not so inseparable in

substance that it can be said that the Legislature would have passed the one without

the other; and (4) an act complete in itself remains after the invalid provisions are

stricken.” Wollschlaeger, 848 F.3d at 1317-18 (cleaned up). Here, each of the


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provisions of the Act, including each prohibited concept, clearly stands on its own

and independently furthers Florida’s interest in enacting it. If any portion of the Act

is held unconstitutional, it should be severed from the remaining, valid provisions.

      The district court concluded that it “need not confront severability because the

unconstitutionally vague ‘objectivity’ savings clause, which governs both the

challenged statute and regulation, renders the provisions as a whole

unconstitutionally vague.” App.416 n.62. But as discussed above, the Act’s

exception for discussion of the enumerated concepts “in an objective manner” is not

unconstitutionally vague. And even if it were, the court below did not explain how

the purported vagueness of the Act’s exception—allowing objective discussion of

the concepts—could possibly render unconstitutionally vague the Act’s general rule

prohibiting instruction that endorses them. For even if it is “impossible” for college

professors to discern when they are discussing the concepts objectively, App.415,

the court never claimed it is impossible for them to discern when they are

affirmatively endorsing them. Accordingly, the court erred in declining to conduct

a severability analysis.

      V.     The Remaining Equitable Factors Favor Reversal.

      The remaining injunction factors likewise militate in favor of reversal. “A

showing of irreparable injury is the sine qua non of injunctive relief.” Siegel, 234

F.3d at 1176 (quotation marks omitted). The district court’s principal reason for


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concluding that Plaintiffs had shown irreparable injury was its conclusion that an

“ongoing First Amendment violation … constitutes irreparable injury” per se.

App.418. But because Plaintiffs have little likelihood of showing that the Act

actually violates their First Amendment freedoms, this presumption does not apply.

      The balance of the equities and the public interest weigh decisively in favor

of reversing the district court’s preliminary injunction. As shown above, the State

has a compelling interest in ending discrimination based on race and other

immutable characteristics, and enjoining the Act will sanction curricular speech that

Florida has determined, in the exercise of its sovereign judgment, is invidiously

discriminatory and contrary to the State’s most cherished ideals. “Any time a State

is enjoined by a court from effectuating statutes enacted by representatives of its

people, it suffers a form of irreparable injury,” King, 567 U.S. at 1303 (Roberts, C.J.,

in chambers) (cleaned up), and that is true all the more when the statute at issue

furthers interests as fundamental as those at the heart of Florida’s Individual

Freedom Act.

                                   CONCLUSION

      For the foregoing reasons, the decision of the district court should be reversed

and the preliminary injunction should be vacated.




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Dated: April 17, 2023                     Respectfully submitted,

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           STATUTORY ADDENDUM
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1000.05. Discrimination against students and employees in the..., FL ST § 1000.05




  West's Florida Statutes Annotated
   Title XLVIII. Early Learning-20 Education Code (Chapters 1000-1013)
      Chapter 1000. Early Learning-20 General Provisions (Refs & Annos)
         Part I. General Provisions

                                     West's F.S.A. § 1000.05

         1000.05. Discrimination against students and employees in the Florida
          K-20 public education system prohibited; equality of access required

                                      Effective: July 1, 2022
                                           Currentness


(1) This section may be cited as the “Florida Educational Equity Act.”


(2)(a) Discrimination on the basis of race, color, national origin, sex, disability, religion,
or marital status against a student or an employee in the state system of public K-20
education is prohibited. No person in this state shall, on the basis of race, color, national
origin, sex, disability, religion, or marital status, be excluded from participation in, be
denied the benefits of, or be subjected to discrimination under any public K-20 education
program or activity, or in any employment conditions or practices, conducted by a public
educational institution that receives or benefits from federal or state financial assistance.


(b) The criteria for admission to a program or course shall not have the effect of
restricting access by persons of a particular race, color, national origin, sex, disability,
religion, or marital status.


(c) All public K-20 education classes shall be available to all students without regard
to race, color, national origin, sex, disability, religion, or marital status; however, this
is not intended to eliminate the provision of programs designed to meet the needs of
students with limited proficiency in English, gifted students, or students with disabilities
or programs tailored to students with specialized talents or skills.


(d) Students may be separated by sex for a single-gender program as provided under
s. 1002.311, for any portion of a class that deals with human reproduction, or during


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1000.05. Discrimination against students and employees in the..., FL ST § 1000.05



participation in bodily contact sports. For the purpose of this section, bodily contact
sports include wrestling, boxing, rugby, ice hockey, football, basketball, and other sports
in which the purpose or major activity involves bodily contact.


(e) Guidance services, counseling services, and financial assistance services in the state
public K-20 education system shall be available to students equally. Guidance and
counseling services, materials, and promotional events shall stress access to academic
and career opportunities for students without regard to race, color, national origin, sex,
disability, religion, or marital status.


(3)(a) No person shall, on the basis of sex, be excluded from participating in, be
denied the benefits of, or be treated differently from another person or otherwise be
discriminated against in any interscholastic, intercollegiate, club, or intramural athletics
offered by a public K-20 educational institution; and no public K-20 educational
institution shall provide athletics separately on such basis.


(b) Notwithstanding the requirements of paragraph (a), a public K-20 educational
institution may operate or sponsor separate teams for members of each sex if the
selection for such teams is based upon competitive skill or the activity involved is a
bodily contact sport. However, when a public K-20 educational institution operates or
sponsors a team in a particular sport for members of one sex but does not operate or
sponsor such a team for members of the other sex, and athletic opportunities for that
sex have previously been limited, members of the excluded sex must be allowed to try
out for the team offered.


(c) This subsection does not prohibit the grouping of students in physical education
classes and activities by ability as assessed by objective standards of individual
performance developed and applied without regard to sex. However, when use of a
single standard of measuring skill or progress in a physical education class has an
adverse effect on members of one sex, the educational institution shall use appropriate
standards which do not have such effect.


(d) A public K-20 educational institution which operates or sponsors interscholastic,
intercollegiate, club, or intramural athletics shall provide equal athletic opportunity for
members of both sexes.




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1000.05. Discrimination against students and employees in the..., FL ST § 1000.05




1. The Board of Governors shall determine whether equal opportunities are available
at state universities.


2. The Commissioner of Education shall determine whether equal opportunities are
available in school districts and Florida College System institutions. In determining
whether equal opportunities are available in school districts and Florida College System
institutions, the Commissioner of Education shall consider, among other factors:


a. Whether the selection of sports and levels of competition effectively accommodate
the interests and abilities of members of both sexes.


b. The provision of equipment and supplies.


c. Scheduling of games and practice times.


d. Travel and per diem allowances.


e. Opportunities to receive coaching and academic tutoring.


f. Assignment and compensation of coaches and tutors.


g. Provision of locker room, practice, and competitive facilities.


h. Provision of medical and training facilities and services.


i. Provision of housing and dining facilities and services.


j. Publicity.

Unequal aggregate expenditures for members of each sex or unequal expenditures for
male and female teams if a public school or Florida College System institution operates


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1000.05. Discrimination against students and employees in the..., FL ST § 1000.05



or sponsors separate teams do not constitute nonimplementation of this subsection, but
the Commissioner of Education shall consider the failure to provide necessary funds for
teams for one sex in assessing equality of opportunity for members of each sex.


(e) A public school or Florida College System institution may provide separate toilet,
locker room, and shower facilities on the basis of gender, but such facilities shall be
comparable to such facilities provided for students of the other sex.


(4)(a) It shall constitute discrimination on the basis of race, color, national origin, or
sex under this section to subject any student or employee to training or instruction
that espouses, promotes, advances, inculcates, or compels such student or employee to
believe any of the following concepts:


1. Members of one race, color, national origin, or sex are morally superior to members
of another race, color, national origin, or sex.


2. A person, by virtue of his or her race, color, national origin, or sex, is inherently racist,
sexist, or oppressive, whether consciously or unconsciously.


3. A person's moral character or status as either privileged or oppressed is necessarily
determined by his or her race, color, national origin, or sex.


4. Members of one race, color, national origin, or sex cannot and should not attempt to
treat others without respect to race, color, national origin, or sex.


5. A person, by virtue of his or her race, color, national origin, or sex, bears responsibility
for, or should be discriminated against or receive adverse treatment because of, actions
committed in the past by other members of the same race, color, national origin, or sex.


6. A person, by virtue of his or her race, color, national origin, or sex, should be
discriminated against or receive adverse treatment to achieve diversity, equity, or
inclusion.




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7. A person, by virtue of his or her race, color, sex, or national origin, bears personal
responsibility for and must feel guilt, anguish, or other forms of psychological distress
because of actions, in which the person played no part, committed in the past by other
members of the same race, color, national origin, or sex.


8. Such virtues as merit, excellence, hard work, fairness, neutrality, objectivity, and
racial colorblindness are racist or sexist, or were created by members of a particular
race, color, national origin, or sex to oppress members of another race, color, national
origin, or sex.


(b) Paragraph (a) may not be construed to prohibit discussion of the concepts listed
therein as part of a larger course of training or instruction, provided such training or
instruction is given in an objective manner without endorsement of the concepts.


(5) Public schools and Florida College System institutions shall develop and implement
methods and strategies to increase the participation of students of a particular race,
color, national origin, sex, disability, or marital status in programs and courses in which
students of that particular race, color, national origin, sex, disability, or marital status
have been traditionally underrepresented, including, but not limited to, mathematics,
science, computer technology, electronics, communications technology, engineering,
and career education.


(6)(a) The State Board of Education shall adopt rules to implement this section as it
relates to school districts and Florida College System institutions.


(b) The Board of Governors shall adopt regulations to implement this section as it relates
to state universities.


(7) The functions of the Office of Equal Educational Opportunity of the Department of
Education shall include, but are not limited to:


(a) Requiring all district school boards and Florida College System institution boards
of trustees to develop and submit plans for the implementation of this section to the
Department of Education.


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(b) Conducting periodic reviews of school districts and Florida College System
institutions to determine compliance with this section and, after a finding that a school
district or a Florida College System institution is not in compliance with this section,
notifying the entity of the steps that it must take to attain compliance and performing
followup monitoring.


(c) Providing technical assistance, including assisting school districts or Florida College
System institutions in identifying unlawful discrimination and instructing them in
remedies for correction and prevention of such discrimination and performing followup
monitoring.


(d) Conducting studies of the effectiveness of methods and strategies designed to
increase the participation of students in programs and courses in which students of
a particular race, color, national origin, sex, disability, or marital status have been
traditionally underrepresented and monitoring the success of students in such programs
or courses, including performing followup monitoring.


(e) Requiring all district school boards and Florida College System institution boards
of trustees to submit data and information necessary to determine compliance with this
section. The Commissioner of Education shall prescribe the format and the date for
submission of such data and any other educational equity data. If any board does not
submit the required compliance data or other required educational equity data by the
prescribed date, the commissioner shall notify the board of this fact and, if the board
does not take appropriate action to immediately submit the required report, the State
Board of Education shall impose monetary sanctions.


(f) Based upon rules of the State Board of Education, developing and implementing
enforcement mechanisms with appropriate penalties to ensure that public K-12 schools
and Florida College System institutions comply with Title IX of the Education
Amendments of 1972 and subsection (3) of this section. However, the State Board
of Education may not force a public school or Florida College System institution to
conduct, nor penalize such entity for not conducting, a program of athletic activity
or athletic scholarship for female athletes unless it is an athletic activity approved
for women by a recognized association whose purpose is to promote athletics and a




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conference or league exists to promote interscholastic or intercollegiate competition for
women in that athletic activity.


(g) Reporting to the Commissioner of Education any district school board or Florida
College System institution board of trustees found to be out of compliance with rules
of the State Board of Education adopted as required by paragraph (f) or paragraph (3)
(d). To penalize the board, the State Board of Education shall:


1. Declare the school district or Florida College System institution ineligible for
competitive state grants.


2. Notwithstanding the provisions of s. 216.192, direct the Chief Financial Officer to
withhold general revenue funds sufficient to obtain compliance from the school district
or Florida College System institution.

The school district or Florida College System institution shall remain ineligible and the
funds shall not be paid until the institution comes into compliance or the State Board of
Education approves a plan for compliance.


(8) A public K-20 educational institution must treat discrimination by students or
employees or resulting from institutional policies motivated by anti-Semitic intent in an
identical manner to discrimination motivated by race. For purposes of this section, the
term “anti-Semitism” includes a certain perception of the Jewish people, which may be
expressed as hatred toward Jewish people, rhetorical and physical manifestations of anti-
Semitism directed toward a person, his or her property, or toward Jewish community
institutions or religious facilities.


(a) Examples of anti-Semitism include:


1. Calling for, aiding, or justifying the killing or harming of Jews, often in the name of
a radical ideology or an extremist view of religion.


2. Making mendacious, dehumanizing, demonizing, or stereotypical allegations about
Jews as such or the power of Jews as a collective, especially, but not exclusively, the



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myth about a world Jewish conspiracy or of Jews controlling the media, economy,
government or other societal institutions.


3. Accusing Jews as a people of being responsible for real or imagined wrongdoing
committed by a single Jewish person or group, the State of Israel, or even for acts
committed by non-Jews.


4. Accusing Jews as a people or the State of Israel of inventing or exaggerating the
Holocaust.


5. Accusing Jewish citizens of being more loyal to Israel, or the alleged priorities of
Jews worldwide, than to the interest of their own nations.


(b) Examples of anti-Semitism related to Israel include:


1. Demonizing Israel by using the symbols and images associated with classic anti-
Semitism to characterize Israel or Israelis, drawing comparisons of contemporary Israeli
policy to that of the Nazis, or blaming Israel for all inter-religious or political tensions.


2. Applying a double standard to Israel by requiring behavior of Israel that is not
expected or demanded of any other democratic nation or focusing peace or human rights
investigations only on Israel.


3. Delegitimizing Israel by denying the Jewish people their right to self-determination
and denying Israel the right to exist.

However, criticism of Israel that is similar to criticism toward any other country may
not be regarded as anti-Semitic.


(c) Nothing in this subsection shall be construed to diminish or infringe upon any right
protected under the First Amendment to the United States Constitution, or the State
Constitution. Nothing in this subsection shall be construed to conflict with federal or
state discrimination laws.



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(9) A person aggrieved by a violation of this section or a violation of a rule adopted under
this section has a right of action for such equitable relief as the court may determine. The
court may also award reasonable attorney's fees and court costs to a prevailing party.


Credits
Added by Laws 2002, c. 2002-387, § 7, eff. Jan. 7, 2003. Amended by Laws 2003, c.
2003-261, § 1942, eff. June 26, 2003; Laws 2004, c. 2004-357, § 70, eff. July 1, 2004;
Laws 2007, c. 2007-217, § 66, eff. July 1, 2007; Laws 2008, c. 2008-26, § 1, eff. July
1, 2008; Laws 2010, c. 2010-78, § 9, eff. July 1, 2010; Laws 2011, c. 2011-5, § 4, eff.
July 6, 2011; Laws 2019, c. 2019-59, § 1, eff. May 31, 2019; Laws 2022, c. 2022-72,
§ 2, eff. July 1, 2022.



Notes of Decisions (8)

West's F. S. A. § 1000.05, FL ST § 1000.05
Current with laws and joint resolutions in effect from the 2022 Special A Session and
2023 Special B Session of the Twenty-Eighth Legislature. Some statute sections may
be more current, see credits for details.

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10.005 Prohibition
   USCA11   Case: of Discrimination
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    (1) Definitions. For purposes of this regulation, the enumerated terms are defined as
follows:
        (a) “Concepts” are the following:
             1. Members of one race, color, national origin, or sex are morally superior to
                 members of another race, color, national origin, or sex.
             2. A person, by virtue of his or her race, color, national origin, or sex is
                 inherently racist, sexist, or oppressive, whether consciously or
                 unconsciously.
             3. A person's moral character or status as either privileged or oppressed is
                 necessarily determined by his or her race, color, national origin, or sex.
             4. Members of one race, color, national origin, or sex cannot and should not
                 attempt to treat others without respect to race, color, national origin, or
                 sex.
             5. A person, by virtue of his or her race, color, national origin, or sex bears
                 responsibility for, or should be discriminated against or receive adverse
                 treatment because of, actions committed in the past by other members of
                 the same race, color, national origin, or sex.
             6. A person, by virtue of his or her race, color, national origin, or sex should
                 be discriminated against or receive adverse treatment to achieve
                 diversity, equity, or inclusion.
             7. A person, by virtue of his or her race, color, sex, or national origin, bears
                 personal responsibility for and must feel guilt, anguish, or other forms of
                 psychological distress because of actions, in which the person played no
                 part, committed in the past by other members of the same race, color,
                 national origin, or sex.
             8. Such virtues as merit, excellence, hard work, fairness, neutrality,
                 objectivity, and racial colorblindness are racist or sexist, or were created
                 by members of a particular race, color, national origin, or sex to oppress
                 members of another race, color, national origin, or sex.
        (b) “Training” is defined as a planned and organized activity conducted by the
            university as a mandatory condition of employment, enrollment, or
            participation in a university program for the purpose of imparting
            knowledge, developing skills or competencies, or becoming proficient in a
            particular job or role.
        (c) “Instruction” is defined as the process of teaching or engaging students with
            content about a particular subject by a university employee or a person
            authorized to provide instruction by the university within a course.
        (d) “Substantiate” is defined as establishing the existence or truth of a particular
            fact through the use of competent evidence.
        (e) “University regulation” is defined as the regulation required by section (2)(a)
            below.




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  (f) “Administrator”
USCA11  Case: 22-13992means    the following
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      assigned the responsibilities of university-wide academic or administrative
      functions: university president, provost, senior/executive vice presidents,
      vice presidents, associate vice presidents, associate/vice provosts, deans,
      equal opportunity programs director, chief audit executive, and chief
      compliance officer.

(2) University Regulation and Content Review
    (a) Each university shall have a university regulation that prohibits
        discrimination on the basis of race, color, national origin, or sex by subjecting
        any student or employee to training or instruction that espouses, promotes,
        advances, inculcates, or compels such student or employee to believe any of
        the concepts as defined in paragraph (1)(a). Such university regulation shall
        contain a method for submitting complaints of alleged violations of the
        university regulation and the title and contact information of the office(s)
        designated by the university to receive and maintain such complaints.
    (b) The university regulation shall include that the prohibition in section (2)(a)
        does not prohibit discussion of the concepts as part of a larger course of
        training or instruction, provided such training or instruction is given in an
        objective manner without endorsement of the concepts.
    (c) Each university shall post the university regulation on a public website where
        the university commonly publishes regulations.
    (d) Each university shall periodically review its regulations, policies and
        institutional training materials to ensure that the content does not violate the
        university regulation.

(3) University Investigation and Corrective Action
    (a) Each administrator who receives a complaint of an alleged violation of the
        university regulation shall timely forward such complaint to the office(s)
        designated to receive such complaints.
    (b) After reviewing the complaint and obtaining any additional information to
        aid in the review, the designated office shall direct, supervise, or coordinate
        the investigation of credible complaints that identify a training or instruction
        that espouses, promotes, advances, inculcates, or compels a student or
        employee to believe any of the concepts.
    (c) In the event the investigation finds that an instruction or training is
        inconsistent with the university regulation, the university shall inform the
        Board of Governors through the Office of Inspector General and take prompt
        action to correct the violation by mandating that the employee(s) responsible
        for the instruction or training modify it to be consistent with the university
        regulation, issuing disciplinary measures where appropriate and remove, by




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       termination
  USCA11            if appropriate,
             Case: 22-13992         the employee(s)
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                                                                 a failure or refusal
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       comply with the mandate.
   (d) If the Board of Governors receives a complaint about which it has not been
       previously informed pursuant paragraph 3(c), it shall refer the complaint to
       the subject university’s Chief Audit Executive to be addressed pursuant
       paragraphs 3(a)-(c).

(4) Proceedings to Determine a Substantiated Institutional Violation
    (a) Upon receipt of a credible allegation that a university willfully and
        knowingly failed to correct a violation of the university regulation, the Board
        of Governors’ Office of Inspector General shall conduct an investigation to
        determine if evidence exists to support the allegation and ineligibility for
        performance funding. In determining whether a university willfully and
        knowingly failed to correct a violation, the Office of Inspector General shall
        consider whether the university made a good faith determination that the
        complaint did not allege a violation of the university regulation or whether it
        took prompt corrective action after it substantiated a violation of the
        university regulation. If it is determined an external qualified investigative
        firm is necessary to assist with or conduct the investigation, the subject
        university will be responsible for any costs incurred.
    (b) The Inspector General shall submit the investigatory findings to the Chair of
        the university’s Board of Trustees, or the Chair’s designee, which shall have
        twenty (20) business days to submit a written response after receipt of such
        findings. The Office of Inspector General shall provide a rebuttal, if any, to
        the university within twenty (20) business days after receipt of the
        university’s response. The university’s response and the Office of Inspector
        General’s rebuttal to the response, if any, shall be included in a final
        investigative report provided to the Board of Governor’s Audit and
        Compliance Committee and the Chair of the university’s Board of Trustees.
    (c) The Board of Governor’s Audit and Compliance Committee shall make a
        recommendation to the Board as to whether it should substantiate an
        allegation that a university willfully and knowingly failed to correct a
        violation of the university regulation. The Board shall review the
        investigative report and recommendation and make a final decision
        regarding whether the alleged willful and knowing failure to correct a
        violation of the university regulation is substantiated. Such decision will be
        rendered in writing to the university within twenty (20) business days of the
        meeting at which the report is considered.
    (d) If the Board of Governors determines that a university willfully and
        knowingly engaged in conduct at the institutional level that constituted a
        substantiated violation of section 1000.05(4)(a), Florida Statutes, and failed to
        take appropriate corrective action, the university will be ineligible for




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  USCA11performance fundingDocument:
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        Board of Governors made the determination.

   (5) Additional Proceedings.
   A university or the complainant may seek judicial review by filing a petition for writ
   of certiorari review with the appropriate circuit court within thirty (30) days of the
   date of the Board’s final decision pursuant to Florida Rule of Appellate Procedure
   9.190(b)(3).

Authority: Section 7(d), art. IX, Fla. Const.; Section 1000.05, Florida Statutes; Section
1001.92, Florida Statutes; History: New 08-26-22.




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Dated: April 17, 2023                      /s/Charles J. Cooper
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      I hereby certify that I electronically filed the foregoing with the Clerk of Court

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Dated: April 17, 2023                       /s/Charles J. Cooper
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